Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 1 of 52 PageID: 40259




                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc.; CommScope, Inc. )
                                        Civil Action No. 19-cv-15962-
   of North Carolina; and CommScope )
                                        JXN-LDW
   Technologies LLC,                  )
                                      )
                Plaintiffs,           )
                                      )
   v.                                 )
                                      )
   Rosenberger Technology (Kunshan) )
   Co. Ltd., Rosenberger Asia Pacific )
   Electronic Co., Ltd., Rosenberger  )
   Technology LLC, Rosenberger USA )
   Corp., Rosenberger North America   )
   Pennsauken, Inc., Rosenberger Site )
   Solutions, LLC, Rosenberger        )
   Hochfrequenztechnik GmbH & Co. )
   KG, Northwest Instrument, Inc.,    )
   CellMax Technologies AB, Janet     )
   Javier, and Robert Cameron,        )
                                      )
                Defendants.           )
                                      )
    _____________________________ )

       ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

        Defendant Rosenberger Site Solutions, LLC (“Rosenberger Site Solutions”),

  by and through its undersigned attorneys, hereby answers Plaintiffs’ Second

  Amended Complaint (the “Second Amended Complaint”) as follows:

        1.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

  1.




                                         44760.00001
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 2 of 52 PageID: 40260




        2.     Rosenberger Site Solutions denies the allegations set forth in the first

  and third sentences of Paragraph 2, except admits that certain Rosenberger entities

  develop, manufacture, and/or sell telecommunications equipment, including BSAs.

  Rosenberger Site Solutions lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in the second sentence of Paragraph

  2, and, on that basis, denies the allegations.

        3.     Rosenberger Site Solutions denies the allegations set forth in Paragraph

  3.

        4.     Rosenberger Site Solutions denies the allegations set forth in Paragraph

  4.

        5.     Rosenberger Site Solutions denies the allegations set forth in Paragraph

  5.

        6.     Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in the second sentence in

  Paragraph 6, and, on that basis, denies the allegations. Rosenberger Site Solutions

  denies the allegations set forth in the remainder of Paragraph 6.

        7.     Rosenberger Site Solutions denies the allegations set forth in Paragraph

  7.

        8.     Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in the first sentence of



                                            -2-
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 3 of 52 PageID: 40261




  Paragraph 8 with respect to CommScope’s intentions, and, on that basis, denies the

  allegations. Rosenberger Site Solutions denies the allegations set forth in the

  remainder of Paragraph 8.

        9.     Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 9, and, on that

  basis, denies the allegations.

        10.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 10, and, on

  that basis, denies the allegations.

        11.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 11, and, on

  that basis, denies the allegations.

        12.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 12, and, on

  that basis, denies the allegations.

        13.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

  13, except admits that certain policies are effective at various entities, and

  respectfully refers the Court to the entirety of the referenced documents for their

  complete and accurate contents.




                                             -3-
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 4 of 52 PageID: 40262




        14.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 14, and, on

  that basis, denies the allegations.

        15.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 15, and, on

  that basis, denies the allegations.

        16.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 16, and, on

  that basis, denies the allegations.

        17.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 17, and, on

  that basis, denies the allegations.

        18.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 18, and, on

  that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the

  Court to the entirety of the referenced documents for their complete and accurate

  contents.

        19.    Rosenberger Site Solutions admits the allegations set forth in the first

  sentence of Paragraph 19. Rosenberger Site Solutions denies the allegations set forth

  in the remainder of Paragraph 19.



                                           -4-
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 5 of 52 PageID: 40263




        20.      Rosenberger Site Solutions admits that it is a private, nonpublic entity

  and that Rosenberger Germany is its ultimate parent. Rosenberger Site Solutions

  lacks knowledge or information sufficient to form a belief as to the truth of the

  allegations set forth in the remainder of Paragraph 20, and, on that basis, denies the

  allegations.

        21.      Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 21, and, on

  that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the

  Court to the entirety of the referenced documents for their complete and accurate

  contents.

        22.      Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in the first, second, and

  third sentences of Paragraph 22, and, on that basis, denies the allegations.

  Rosenberger Site Solutions denies the allegations set forth in the fourth sentence of

  Paragraph 22.

        23.      Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 23, and, on

  that basis, denies the allegations.




                                            -5-
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 6 of 52 PageID: 40264




        24.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 24, and, on

  that basis, denies the allegations.

        25.    Paragraph 25 states legal conclusions to which no response is required.

        26.    Paragraph 26 states legal conclusions to which no response is required.

        27.    Paragraph 27 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions denies the

  allegations set forth in the second sentence of Paragraph 27. Rosenberger Site

  Solutions lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations set forth in the remainder of Paragraph 27, and, on that basis,

  denies the allegations.

        28.    Paragraph 28 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 28, and, on that basis, denies the allegations.

        29.    Paragraph 29 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 29, and, on that basis, denies the allegations.




                                           -6-
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 7 of 52 PageID: 40265




        30.    Paragraph 30 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions denies the

  allegations set forth in Paragraph 30.

        31.    Paragraph 31 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions admits that

  Rosenberger Site Solutions is registered to do business in New Jersey and otherwise

  denies the allegations set forth in Paragraph 31.

        32.    Paragraph 32 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions denies the

  allegations set forth in Paragraph 32. Rosenberger Site Solutions respectfully refers

  the Court to the entirety of the referenced documents for their complete and accurate

  contents.

        33.    Paragraph 33 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 33, and, on that basis, denies the allegations.

        34.    Paragraph 34 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 34, and, on that basis, denies the allegations.



                                           -7-
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 8 of 52 PageID: 40266




        35.    Paragraph 35 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 35, and, on that basis, denies the allegations.

        36.    Paragraph 36 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 36, and, on that basis, denies the allegations.

        37.    Paragraph 37 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 37, and, on that basis, denies the allegations.

        38.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

  38.

        39.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

  39, except admits that BSAs can sometimes be complicated and valuable equipment

  and are sometimes attached to cellular towers or on rooftops.

        40.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

  40, except admits that BSAs sometimes use radio frequencies to exchange signals




                                           -8-
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 9 of 52 PageID: 40267




  with mobile devices like cell phones and can receive and transmit radio signals at

  great distance with minimal interference.

        41.    Rosenberger Site Solutions denies that AAAP and PSOAA are “trade

  secret software programs” and otherwise lacks knowledge or information sufficient

  to state a belief as to the truth of the allegations set forth in Paragraph 41, and, on

  that basis, denies the allegations.

        42.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 42, and, on

  that basis, denies the allegations.

        43.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 43, and, on

  that basis, denies the allegations.

        44.    Rosenberger Site Solutions lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in Paragraph 44, and, on

  that basis, denies the allegations.

        45.    Rosenberger Site Solutions denies that the referenced software

  programs are “trade secret software programs” and otherwise lacks knowledge or

  information sufficient to state a belief as to the truth of the allegations set forth in

  Paragraph 45, and, on that basis, denies the allegations.




                                            -9-
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 10 of 52 PageID: 40268




         46.    Rosenberger Site Solutions denies that Andrew Antenna Format is a

   “trade secret format” and that the other referenced software tools are trade secrets.

   Rosenberger Site Solutions otherwise lacks knowledge or information sufficient to

   state a belief as to the truth of the allegations set forth in Paragraph 46, and, on that

   basis, denies the allegations.

         47.    Rosenberger Site Solutions denies that the referenced design, methods,

   and software programs are trade secrets, and otherwise lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 47, and, on that basis, denies the allegations.

         48.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   48.

         49.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   49.

         50.    Rosenberger Site Solutions denies the allegations set forth in the last

   sentence of Paragraph 50 and denies that the referenced software programs are trade

   secrets. Rosenberger Site Solutions otherwise lacks knowledge or information

   sufficient to state a belief as to the truth of the allegations set forth in the remainder

   of Paragraph 50, and, on that basis, denies the allegations.

         51.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   51.



                                             - 10 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 11 of 52 PageID: 40269




         52.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   52.

         53.    Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in the last sentence of

   Paragraph 53, and, on that basis, denies the allegations. Rosenberger Site Solutions

   denies the allegations set forth in the remainder of Paragraph 53.

         54.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   54.

         55.    Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 55, and, on

   that basis, denies the allegations.

         56.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   56.

         57.    Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in the second, third, and

   fourth sentences of Paragraph 57, and, on that basis, denies the allegations.

   Rosenberger Site Solutions denies the allegations set forth in the remainder of

   Paragraph 57. Rosenberger Site Solutions respectfully refers the Court to the

   referenced documents for their complete and accurate contents.




                                            - 11 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 12 of 52 PageID: 40270




         58.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   58.

         59.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   59.

         60.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   60.

         61.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   61.

         62.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   62.

         63.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   63.

         64.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   64.

         65.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   65.

         66.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   66, except admits that CommScope makes Antenna Pattern Viewer publicly

   available.




                                           - 12 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 13 of 52 PageID: 40271




         67.    Rosenberger Site Solutions denies that AAF is a “trade secret.”

   Rosenberger Site Solutions admits that certain employees may have unknowingly

   received Andrew Antenna Format files, but otherwise denies the allegations set forth

   in Paragraph 67. Rosenberger Site Solutions avers that CommScope has failed to

   take reasonable measures to protect the confidentiality of the AAF file format and

   has distributed such files to third parties.

         68.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   68.

         69.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   69.

         70.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   70.

         71.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   71.

         72.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   72.

         73.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   73.

         74.    Rosenberger Site Solutions denies that AAF is a “trade secret.”

   Rosenberger Site Solutions admits that certain employees may have unknowingly



                                             - 13 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 14 of 52 PageID: 40272




   received Andrew Antenna Format files, but otherwise denies the allegations set forth

   in Paragraph 74. Rosenberger Site Solutions avers that CommScope has failed to

   take reasonable measures to protect the confidentiality of the AAF file format and

   has distributed such files to third parties.

         75.    Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in the third and fourth

   sentence of Paragraph 75, and, on that basis, denies the allegations. Rosenberger

   Site Solutions denies the allegations set forth in the remainder of Paragraph 75.

         76.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   76.

         77.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   77.

         78.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   78, except admits that Jerry Michels is its employee, and respectfully refers the Court

   to the entirety of the referenced presentation for its complete and accurate contents.

         79.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   79, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.




                                             - 14 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 15 of 52 PageID: 40273




         80.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   80, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.

         81.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   81, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.

         82.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   82, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.

         83.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   83, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.

         84.    Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 84 concerning

   the contents of CommScope’s source code, and, on that basis, denies the allegations.

   Rosenberger Site Solutions otherwise denies the allegations set forth in the

   remainder of Paragraph 84.

         85.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   85.




                                            - 15 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 16 of 52 PageID: 40274




         86.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   86, and respectfully refers the Court to the referenced presentation for its complete

   and accurate contents.

         87.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   87, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.

         88.    Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 88 concerning

   CommScope’s source code, and, on that basis, denies the allegations. Rosenberger

   Site Solutions otherwise denies the allegations set forth in Paragraph 88, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         89.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   89, except admits that wireless service providers sometimes conduct field trials of

   antennas.

         90.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   90.

         91.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   91, except admits that certain Rosenberger entities obtained AT&T’s approval to sell




                                            - 16 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 17 of 52 PageID: 40275




   certain BSAs to AT&T. Rosenberger Site Solutions respectfully refers the Court to

   the entirety of the referenced presentations for their complete and accurate contents.

         92.    Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations in Paragraph 92 concerning AT&T’s

   “typical[]” practices, and, on that basis, denies the allegations. Rosenberger Site

   Solutions denies the allegations set forth in the remainder of Paragraph 92.

         93.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   93, and respectfully refers the Court to the entirety of the referenced documents for

   their complete and accurate contents.

         94.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   94, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.

         95.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   95, and respectfully refers the Court to the entirety of the referenced presentations

   for their complete and accurate contents.

         96.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   96, and respectfully refers the Court to the entirety of the referenced presentations

   for their complete and accurate contents.

         97.    Rosenberger Site Solutions denies the allegations set forth in Paragraph

   97, except admits that Jerry Michels is its employee. Rosenberger Site Solutions



                                            - 17 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 18 of 52 PageID: 40276




   respectfully refers the Court to the entirety of the referenced document for its

   complete and accurate contents.

          98.   Rosenberger Site Solutions denies the allegations set forth in Paragraph

   98.

          99.   Rosenberger Site Solutions denies the allegations set forth in Paragraph

   99.

          100. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   100.

          101. Rosenberger Site Solutions denies the allegations set forth in the first

   sentence of Paragraph 101 concerning “misappropriation of the Simulation

   Software,” the fourth sentence describing PSOAA as “a CommScope proprietary

   program that only CommScope’s employees can access,” and the allegations in the

   last sentence of Paragraph 101.        Rosenberger Site Solutions otherwise lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in the remainder of Paragraph 101, and, on that basis, denies the allegations.

          102. Rosenberger Site Solutions lacks knowledge or information sufficient

   to state a belief as to the truth of the allegations set forth in Paragraph 102 concerning

   the Rosenberger New Jersey Offices, and, on that basis, denies the allegations.

   Rosenberger Site Solutions denies the allegations set forth in the remainder of

   Paragraph 102.



                                             - 18 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 19 of 52 PageID: 40277




          103. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 103, and, on

   that basis, denies the allegations.

          104. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   104.

          105. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in the first two sentences

   of Paragraph 105, and, on that basis, denies the allegations. Rosenberger Site

   Solutions denies the allegations set forth in the remainder of Paragraph 105.

          106. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   106.

          107. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   107.

          108. Paragraph 108 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions denies the

   allegations set forth in Paragraph 108.

          109. Paragraph 109 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions denies the

   allegations set forth in Paragraph 109.




                                             - 19 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 20 of 52 PageID: 40278




          110. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   110.

          111. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   111.

          112. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 112, and, on

   that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the

   Court to the referenced website for its complete and accurate contents.

          113. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 113, and, on

   that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the

   Court to the referenced website for its complete and accurate contents.

          114. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   114. Rosenberger Site Solutions respectfully refers the Court to the referenced

   document for its complete and accurate contents.

          115. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   115, and respectfully refers the Court to the referenced document for its complete

   and accurate contents.




                                            - 20 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 21 of 52 PageID: 40279




          116. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   116, and respectfully refers the Court to the referenced document for its complete

   and accurate contents.

          117. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 117, and, on

   that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the

   Court to the referenced agreement for its complete and accurate contents.

          118. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   118, and respectfully refers the Court to the referenced documents for their complete

   and accurate contents.

          119. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   119.

          120. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   120, and respectfully refers the Court to the referenced documents for their complete

   and accurate contents.

          121. Rosenberger Site Solutions denies the allegations set forth in paragraph

   121.

          122. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 122, and, on

   that basis, denies the allegations.



                                            - 21 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 22 of 52 PageID: 40280




         123. Paragraph 123 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 123, and, on that basis, denies the allegations. Rosenberger Site Solutions

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         124. Paragraph 124 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 124, and, on that basis, denies the allegations. Rosenberger Site Solutions

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         125. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 125, and, on

   that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the

   Court to the entirety of the referenced agreement for its complete and accurate

   contents.

         126. Paragraph 126 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or




                                            - 22 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 23 of 52 PageID: 40281




   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 126, and, on that basis, denies the allegations.

         127. Paragraph 127 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 127, and, on that basis, denies the allegations.

         128. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 128, and, on

   that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the

   Court to the entirety of the referenced agreement for its complete and accurate

   contents.

         129. Paragraph 129 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 129, and, on that basis, denies the allegations. Rosenberger Site Solutions

   respectfully refers the Court to the entirety of the referenced agreement for its

   complete and accurate contents.

         130. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 130, and, on

   that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the



                                            - 23 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 24 of 52 PageID: 40282




   Court to the entirety of the referenced agreement for its complete and accurate

   contents.

         131. Paragraph 131 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 131, and, on that basis, denies the allegations. Rosenberger Site Solutions

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         132. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 132, and, on

   that basis, denies the allegations.

         133. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 133, and, on

   that basis, denies the allegations.

         134. Paragraph 134 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 134, and, on that basis, denies the allegations. Rosenberger Site Solutions

   respectfully refers the Court to the referenced statement for its complete and accurate

   contents.



                                            - 24 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 25 of 52 PageID: 40283




         135. Paragraph 135 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 135, and, on that basis, denies the allegations. Rosenberger Site Solutions

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         136. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 136, and, on

   that basis, denies the allegations.

         137. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 137, and, on

   that basis, denies the allegations.

         138. Paragraph 138 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 138, and, on that basis, denies the allegations. Rosenberger Site Solutions

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.




                                            - 25 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 26 of 52 PageID: 40284




         139. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 139, and, on

   that basis, denies the allegations.

         140. Paragraph 140 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 140, and, on that basis, denies the allegations.

         141. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 141, and, on

   that basis, denies the allegations.

         142. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in the fourth sentence in

   Paragraph 142, and, on that basis, denies the allegations. Rosenberger Site Solutions

   denies the allegations set forth in the remainder of Paragraph 142. Rosenberger Site

   Solutions respectfully refers the Court to the referenced documents for their

   complete and accurate contents.

         143. Rosenberger Site Solutions denies the allegations set forth in the last

   sentence of Paragraph 143. Rosenberger Site Solutions otherwise lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 143, and, on that basis, denies the allegations.



                                             - 26 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 27 of 52 PageID: 40285




         144. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 144, and, on

   that basis, denies the allegations.

         145. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 145, and, on

   that basis, denies the allegations.

         146. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 146, and, on

   that basis, denies the allegations.

         147. Rosenberger Site Solutions denies the allegations set forth in the first

   sentence of Paragraph 147, and lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the remainder of Paragraph 147,

   and, on that basis, denies the allegations.

         148. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in the first and second

   sentences of Paragraph 148, and, on that basis, denies the allegations. Rosenberger

   Site Solutions denies the allegations set forth in the third sentence of Paragraph 148.

         149. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in the first and second




                                            - 27 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 28 of 52 PageID: 40286




   sentences of Paragraph 149, and, on that basis, denies the allegations. Rosenberger

   Site Solutions denies the allegations set forth in the third sentence of Paragraph 149.

          150. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   150.

          151. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   151.

          152. Rosenberger Site Solutions denies allegations set forth in the first

   sentence of Paragraph 152.       Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 152, and, on that basis, denies the allegations.

   Rosenberger Site Solutions respectfully refers the Court to the referenced document

   for its complete and accurate contents.

          153. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   153.

          154. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   154.

          155. Paragraph 155 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 155, and, on that basis, denies the allegations.



                                             - 28 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 29 of 52 PageID: 40287




          156. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 156, and, on

   that basis, denies the allegations.

          157. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 157, and, on

   that basis, denies the allegations.

          158. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   158, and respectfully refers the Court to the entirety of the referenced document for

   its complete and accurate contents.

          159. Rosenberger Site Solutions denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.

          160. Rosenberger Site Solutions denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.

          161. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   161.

          162. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 162, and, on

   that basis, denies the allegations.



                                            - 29 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 30 of 52 PageID: 40288




         163. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 163, and, on

   that basis, denies the allegations.

         164. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 164, and, on

   that basis, denies the allegations.

         165. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 165, and, on

   that basis, denies the allegations.

         166. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 166, and, on

   that basis, denies the allegations.

         167. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 167, and, on

   that basis, denies the allegations.

         168. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 168, and, on

   that basis, denies the allegations.




                                            - 30 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 31 of 52 PageID: 40289




          169. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 169, and, on

   that basis, denies the allegations.

          170. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 170, and, on

   that basis, denies the allegations.

          171. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   171.

          172. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   172.

          173. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 173, and, on

   that basis, denies the allegations.

          174. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   174.

          175. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   175.

          176. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.




                                            - 31 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 32 of 52 PageID: 40290




          177. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   177.

          178. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   178.

          179. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   179.

          180. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   180.

          181. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   181.

          182. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   182.

          183. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   183.

          184. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   184.

          185. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   185.

          186. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   186.



                                          - 32 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 33 of 52 PageID: 40291




          187. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   187.

          188. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   188.

          189. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   189.

          190. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   190.

          191. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.

          192. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   192.

          193. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   193.

          194. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   194.

          195. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   195.

          196. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   196.



                                          - 33 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 34 of 52 PageID: 40292




          197. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   197.

          198. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   198.

          199. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   199.

          200. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   200.

          201. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   201.

          202. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.

          203. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   203.

          204. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   204.

          205. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   205.

          206. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   206.



                                          - 34 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 35 of 52 PageID: 40293




          207. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   207.

          208. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   208.

          209. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   209.

          210. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   210.

          211. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   211.

          212. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   212.

          213. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   213.

          214. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.

          215. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 215, and, on

   that basis, denies the allegations.




                                            - 35 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 36 of 52 PageID: 40294




          216. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   216.

          217. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   217.

          218. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   218.

          219. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   219.

          220. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   220.

          221. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   221.

          222. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   222.

          223. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   223.

          224. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.

          225. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 225, and, on



                                            - 36 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 37 of 52 PageID: 40295




   that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the

   Court to the referenced documents for their complete and accurate contents.

         226. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 226, and, on

   that basis, denies the allegations. Rosenberger Site Solutions respectfully refers the

   Court to the referenced documents for their complete and accurate contents.

         227. Paragraph 227 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 227, and, on that basis, denies the allegations.

         228. Paragraph 228 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 228, and, on that basis, denies the allegations.

         229. Paragraph 229 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 229, and, on that basis, denies the allegations.




                                            - 37 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 38 of 52 PageID: 40296




          230. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 230, and, on

   that basis, denies the allegations.

          231. Paragraph 231 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions denies

   the allegations set forth in Paragraph 231.

          232. Paragraph 232 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions denies

   the allegations set forth in Paragraph 232.

          233. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 233, and, on

   that basis, denies the allegations.

          234. Paragraph 234 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions denies

   the allegations set forth in Paragraph 234.

          235. Paragraph 235 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions denies

   the allegations set forth in Paragraph 235.

          236. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   236.



                                            - 38 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 39 of 52 PageID: 40297




         237. Paragraph 237 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions denies

   the allegations set forth in Paragraph 237.

         238. Paragraph 238 states a legal conclusion to which no response is

   required.   To the extent a response is required, Rosenberger Site Solutions

   respectfully refers the Court to the entirety of the referenced agreements for their

   complete and accurate contents.

         239. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.

         240. Paragraph 240 states legal conclusions to which no response is required.

   To the extent a response is required. Rosenberger Site Solutions denies the

   allegations set forth in Paragraph 240.

         241. Paragraph 241 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions denies

   the allegations set forth in Paragraph 241.

         242. Paragraph 242 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions denies

   the allegations set forth in Paragraph 242.

         243. Paragraph 243 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Site Solutions lacks knowledge or



                                             - 39 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 40 of 52 PageID: 40298




   information sufficient to form a belief as to the truth of the allegations set forth in

   the first sentence of Paragraph 243, and, on that basis, denies the allegations.

   Rosenberger Site Solutions denies the remainder of the allegations set forth in

   Paragraph 216.

          244. Paragraph 244 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 244, and, on that basis, denies the allegations.

          245. Paragraph 245 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 245, and, on that basis, denies the allegations.

          246. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   246.

          247. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.

          248. Rosenberger Site Solutions admits that it is not a party to the

   Agreements referenced in Paragraph 248 and respectfully refers the Court to the

   referenced agreements for their complete and accurate contents.




                                            - 40 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 41 of 52 PageID: 40299




          249. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 249, and, on

   that basis, denies the allegations.

          250. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   250.

          251. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 251, and, on

   that basis, denies the allegations.

          252. Paragraph 252 states legal conclusions to which no response is required.

   To the extent a response is required. Rosenberger Site Solutions denies the

   allegations set forth in Paragraph 252.

          253. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   253.

          254. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in Paragraph 254, and, on

   that basis, denies the allegations.

          255. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   255.

          256. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   256.



                                             - 41 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 42 of 52 PageID: 40300




          257. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   257.

          258. Rosenberger Site Solutions lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in the first sentence and the

   first clause of the second sentence of Paragraph 258, and, on that basis, denies the

   allegations. Rosenberger Site Solutions denies the allegations set forth in the

   remainder of Paragraph 258.

          259. Paragraph 259 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 259, and, on that basis, denies the allegations.

          260. Paragraph 260 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 260, and, on that basis, denies the allegations.

          261. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   261.

          262. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.




                                             - 42 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 43 of 52 PageID: 40301




          263. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   263.

          264. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   264.

          265. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   265.

          266. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   266.

          267. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   267.

          268. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   268.

          269. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   269.

          270. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   270.

          271. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   271.

          272. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   272.



                                          - 43 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 44 of 52 PageID: 40302




          273. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.

          274. Paragraph 274 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions denies

   the allegations set forth in Paragraph 274.

          275. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   275, except admits that Rosenberger Site Solutions is a partially owned subsidiary

   of Rosenberger USA and makes certain decisions independently of other entities

   named as defendants.

          276. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   276.

          277. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   277.

          278. Rosenberger Site Solutions incorporates by reference its responses to

   the foregoing allegations.

          279. Paragraph 279 states a legal conclusion to which no response is

   required.

          280. Paragraph 280 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Site Solutions denies the

   allegations set forth in Paragraph 280.



                                             - 44 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 45 of 52 PageID: 40303




          281. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   281.

          282. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   282.

          283. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   283.

          284. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   284.

          285. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   285.

          286. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   286.

          287. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   287.

          288. Rosenberger Site Solutions denies the allegations set forth in Paragraph

   288.

                             AFFIRMATIVE DEFENSES
          289. By alleging the Affirmative Defenses set forth below, Rosenberger Site

   Solutions intends no alteration of the burden of proof and/or burden of going forward

   with evidence which otherwise exists with respect to any particular issues at law or



                                           - 45 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 46 of 52 PageID: 40304




   in equity. Furthermore, all such defenses are pleaded in the alternative, and do not

   constitute an admission of liability or that Plaintiffs are entitled to any relief

   whatsoever.

                                 First Affirmative Defense
         290. Plaintiffs’ claims are barred in whole or in part because the Second

   Amended Complaint fails to state a claim upon which relief can be granted.

                                Second Affirmative Defense
         291. Plaintiffs’ claims are barred in whole or in part by the applicable

   statutes of limitations, laches, and the statute of repose.

                                 Third Affirmative Defense

         292. Plaintiffs’ claims are barred in whole or in part by the doctrines of

   laches, waiver, consent, release, estoppel, unclean hands, and/or ratification.

                                Fourth Affirmative Defense
         293. Plaintiffs’ claims are barred in whole or in part by the doctrine of

   equitable estoppel.

                                 Fifth Affirmative Defense

         294. Plaintiffs’ claims are barred because Plaintiffs have failed to show that

   what they allege to be trade secrets are actually trade secrets under the law.




                                             - 46 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 47 of 52 PageID: 40305




                                Sixth Affirmative Defense

         295. Plaintiffs’ claims are barred because, to the extent any form of trade

   secrets exists, Plaintiffs have not shown that Plaintiffs are the owners of the alleged

   trade secrets.

                               Seventh Affirmative Defense

         296. Plaintiffs’ claims are barred because Plaintiffs have failed to identify

   the specific trade secrets allegedly misappropriated and used by Defendants.

                               Eighth Affirmative Defense

         297. Plaintiffs’ claims are barred because the alleged trade secrets are either

   generally known or readily ascertainable by proper means, were not valuable

   business information, or were not the subject of efforts that were reasonable under

   the circumstances to maintain their secrecy.

                                Ninth Affirmative Defense

         298. Plaintiffs’ claims are barred because Plaintiffs failed to take reasonable

   steps to maintain and safeguard the secrecy of any information claimed in this action

   to be a trade secret.

                                Tenth Affirmative Defense

         299. Plaintiffs’ claims are barred because they have not suffered any losses

   or damages proximately caused by the conduct of Defendants alleged in the Second

   Amended Complaint.



                                            - 47 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 48 of 52 PageID: 40306




                              Eleventh Affirmative Defense

         300. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because Plaintiffs’ alleged trade secrets have been disclosed publicly or were

   generally known.

                               Twelfth Affirmative Defense

         301. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because the technology and processes used to make the accused products were

   independently developed.

                              Thirteenth Affirmative Defense

         302. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because, to the extent Rosenberger acquired any alleged trade secret, it did so in a

   lawful manner.

                              Fourteenth Affirmative Defense

         303. Plaintiffs’ claims are barred in whole or in part because Plaintiffs have

   failed to mitigate any damages they may have suffered.

                              Fifteenth Affirmative Defense

         304. Plaintiffs’ claims are barred in whole or in part because they cannot

   demonstrate that Defendants acted with the requisite intent.




                                           - 48 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 49 of 52 PageID: 40307




                              Sixteenth Affirmative Defense

         305. Plaintiffs’ claims for misappropriation of trade secrets fail, in whole or

   in part, on the grounds that the alleged trade secrets or other confidential and

   proprietary information for which Plaintiffs claim they are entitled to the relief

   sought are not trade secrets because Plaintiffs cannot meet their burden to show that

   the information derives independent economic value, actual or potential, from not

   being generally known to, and not being readily ascertainable through proper means

   by, another person who can obtain economic value from the disclosure or use of the

   information.

                            Seventeenth Affirmative Defense

         306. Plaintiffs’ claims are barred in whole or in part by the applicable statute

   of limitations.

                             Eighteenth Affirmative Defense

         307. Plaintiffs are not entitled to injunctive relief because any injury to them

   is not immediate or irreparable, Plaintiffs would have an adequate remedy at law,

   the balance of hardships weighs against an injunction, and the public interest is best

   served by not issuing an injunction.

                             Nineteenth Affirmative Defense

         308. Plaintiffs have not suffered and will not suffer harm as a result of

   Rosenberger’s alleged misconduct.



                                           - 49 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 50 of 52 PageID: 40308




                               Twentieth Affirmative Defense

         309. Plaintiffs’ claims under United States or state law have no

   extraterritorial effect. Plaintiffs are barred from asserting such claims concerning

   conduct outside the United States.

                              Twenty-First Affirmative Defense

         310. Any decision by a court outside the United States, or agreement entered

   into by the parties outside the United States, should be given deference as a matter

   of comity.

                           Twenty-Second Affirmative Defense

         311. Rosenberger Site Solutions hereby adopts by reference any additional

   applicable defense pleaded by any other defendant and not otherwise pleaded herein,

   as well as any defense available under the statutes relied upon by Plaintiffs.

   Rosenberger Site Solutions intends to rely upon any additional defense that is now

   or may become available or appears during or as a result of the discovery

   proceedings in this action, and expressly reserves its right to amend its answer to

   assert any such defense.

         WHEREFORE, Rosenberger Site Solutions demands judgment in its favor

   and against the Plaintiffs, as follows:

                (a)    For Rosenberger Site Solutions and against Plaintiffs on each
                       and every claim set forth in the Second Amended Complaint;

                (b)    Awarding Rosenberger Site Solutions reasonable attorneys’


                                             - 50 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 51 of 52 PageID: 40309




                    fees and costs as well as such other and further relief as the
                    Court may deem just and proper.




                                         - 51 -
Case 2:19-cv-15962-JXN-LDW Document 464 Filed 09/07/21 Page 52 of 52 PageID: 40310




   Dated: September 7, 2021

                                      Respectfully submitted,
                                      LOWENSTEIN SANDLER LLP

                                       By: /s/ Matthew M. Oliver

                                         Matthew M. Oliver, Esq.
                                         One Lowenstein Drive
                                         Roseland, New Jersey 07068
                                         Telephone: (973) 597-2500
                                         moliver@lowenstein.com

                                         MILBANK LLP
                                         Daniel M. Perry (pro hac vice)
                                         Kim B. Goldberg (pro hac vice)
                                         55 Hudson Yards
                                         New York, New York 10001
                                         Telephone: (212) 530-5000
                                         dperry@milbank.com
                                         kgoldberg@milbank.com
                                         David I. Gindler (pro hac vice)
                                         Y. John Lu (pro hac vice)
                                         2029 Century Park East, 33rd Floor
                                         Los Angeles, CA 90067
                                         Telephone: (424) 386-4000
                                         dgindler@milbank.com
                                         jlu@milbank.com

                                      Attorneys for Defendants Rosenberger
                                      Technology (Kunshan) Co. Ltd.,
                                      Rosenberger Asia Pacific Electronic Co.,
                                      Ltd., Rosenberger Technology LLC,
                                      Rosenberger USA Corp., Rosenberger North
                                      America Pennsauken, Inc., Rosenberger Site
                                      Solutions, LLC, Rosenberger
                                      Hochfrequenztechnik GmbH & Co. KG, and
                                      Northwest Instrument, Inc.



                                      - 52 -
